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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


Dino N. Theodore, et al


        v.
                                             Case No. 18-cv-368-SM

99 Restaurants, LLC, et al



                                      JUDGMENT


        Judgment is hereby entered in accordance with the following:

        1.    Stipulation of Dismissal as to 99 Remainder, III, LLC filed

on January 11, 2019; and

        2.    Order by District Judge Steven J. McAuliffe dated October 2,

2019.

        The prevailing party may recover costs consistent with Fed. R.

Civ. P. 54(d) and 28 U.S.C. § 1920.


                                             By the Court:


                                             _________________________
                                             Daniel J. Lynch
                                             Clerk of Court


Date: October 2, 2019

cc:     Nicholas S. Guerrera, Esq.
        James L. Frederick, Esq.
        Laurence B. Cote, Esq.
